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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,                     SCHEDULING ORDER
       v.
                                                                         18-cr-146-jdp
PETER JEWELL-REIGEL,

                                 Defendant.
______________________________________________________________________________________

       At the October 31, 2018 arraignment, this court set the following schedule:

       1) In response to the defendant’s Rule 16 demand, the government must provide its

required disclosures not later than November 7, 2018, with a continuing disclosure obligation

throughout this case. The government and its agents are ordered to preserve rough notes and

similar data compilations for possible disclosure later in this case. Pursuant to Rule 12, the

government reports that it intends to use all disclosed evidence in its case-in-chief at trial.

       2) Defendant must file and serve any pretrial motions and discovery requests not later

than noon, January 14, 2019. Pursuant to 18 U.S.C. § 3161(h)(7), time from the arraignment

until the deadline to file pretrial motions is excluded from the speedy trial clock regardless

whether motions are filed. The ends of justice and the Sixth Amendment require that defendant

and defense counsel receive adequate time to review the government’s disclosures, investigate

this case, then make tactical decisions whether to file motions and which motions to file. Briefs

need not accompany motions. To obtain an evidentiary hearing on a motion, defendant must

ask for it in the caption of each such motion and must submit admissible facts establishing a

prima facie entitlement to the relief requested. See U.S. v. Edgeworth, 889 F.3d 350.
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       3) The pretrial motion hearing and any evidentiary hearing shall be January 17, 2019

at 11:30 a.m. The court will rule on each motion or set it for briefing in consultation with the

parties. Unless the court is taking evidence on a dispositive motion, defendant may waive his

presence at the preliminary pretrial conference.

       4) Deadlines to disclose expert witnesses: Government: February 15, 2019

                                                       Defendant: March 4, 2019

       5) Submissions for the final pretrial conference, namely proposed voir dire questions,

jury instructions and motions in limine must be filed and served not later than March 12, 2019.

       6) The final pretrial conference shall be March 14, 2019 at 9:00 a.m. Defendant may

waive his presence at the final pretrial conference.

       7) The final hearing before the trial judge shall be March 20, 2019 at 3:00 p.m.

Defendant and trial counsel must attend this hearing.

       8) Jury selection and trial shall begin March 25, 2019 at 9:00 a.m. The predicted trial

length is two days. The parties are jointly responsible for alerting the clerk of court forthwith

if a jury need not be called.




       Entered this 31st day of October, 2018.

                                             BY THE COURT:

                                             /s/

                                             STEPHEN L. CROCKER
                                             Magistrate Judge




                                                   2
